Case 2:19-cr-00120-MEF Document 500-39 Filed 08/03/23 Page 1 of 3 PageID: 25595




                    EXHIBIT 37
   Case 2:19-cr-00120-MEF Document 500-39 Filed 08/03/23 Page 2 of 3 PageID: 25596



 JUSTICE NEWS

                                                Department of Justice

                                                 Office of Public Affairs


FOR IMMEDIATE RELEASE                                                                          Friday, February 15, 2019


   Former President and Former Chief Legal Officer of Publicly Traded Fortune 200
   Technology Services Company Indicted in Connection with Alleged Multi-Million
                          Dollar Foreign Bribery Scheme

A federal grand jury returned an indictment yesterday against the former president and the former chief legal officer of
Cognizant Technology Solutions Corporation, a publicly traded Fortune 200 technology services company based in
Teaneck, New Jersey, in connection with an alleged foreign bribery scheme.

Assistant Attorney General Brian A. Benczkowski of the Justice Department’s Criminal Division, U.S. Attorney Craig
Carpenito of the District of New Jersey and Special Agent in Charge Gregory W. Ehrie of the FBI Newark Field Office
made the announcement.

Gordon Coburn, 55, of Beaver Creek, Colorado, and Steven Schwartz, 51, of Greenwich, Connecticut, were charged in
a 12-count indictment with one count of conspiracy to violate the Foreign Corrupt Practices Act (FCPA), three counts of
violating the FCPA, seven counts of falsifying books and records, and one count of circumventing and failing to
implement internal accounting controls. The charges stem from an alleged scheme to bribe one or more government
officials in India to ensure the issuance of a construction permit necessary to complete the development of an office
campus that would support thousands of employees and become one of Cognizant’s largest facilities in India.

The case is assigned to U.S. District Judge Kevin McNulty of the District of New Jersey. The defendants are scheduled
to appear this afternoon before U.S. Magistrate Judge Mark Falk in Newark federal court.

“The allegations in the indictment filed yesterday describe a sophisticated international bribery scheme authorized and
concealed by C-suite executives of a publicly-traded multinational company,” said Assistant Attorney General
Benczkowski. “The indictment of Gordon Coburn and Steven Schwartz demonstrates the Department’s commitment to
relentlessly pursuing corporate fraud and corruption wherever it is found.”

According to the indictment, in or about April 2014, Coburn and Schwartz allegedly authorized an unlawful payment of
approximately $2 million to one or more foreign government officials in India to secure and obtain a necessary permit to
open a new office campus. To conceal Cognizant’s involvement in the scheme, Coburn, Schwartz and others allegedly
agreed that a third-party construction company would obtain the permit by making the illegal bribe payment and that
Cognizant would reimburse the construction company through phony construction invoices at the end of the project.
The indictment further alleges that in or about late June 2014, after the co-conspirators had agreed that the construction
company would make the bribe payment on behalf of Cognizant, the construction company secured the necessary
government order for Cognizant to obtain the permit, allowing Cognizant to complete the development of the office
campus and avoid millions of dollars in costs. Months later, the co-conspirators are alleged to have knowingly caused
Cognizant to funnel over $2 million to the construction company disguised as payment for cost overruns on the office
campus when they knew that the actual purpose of the payment was to reimburse the construction company for the
bribe payment. According to the indictment, as Coburn, Schwartz and others had previously agreed, they hid the bribe
reimbursement payment within a series of line items in a construction change order request to be paid to the
construction company, thereby concealing the true nature and purpose of the reimbursement, falsifying Cognizant’s
books and records, and circumventing and failing to implement its internal controls.
   Case 2:19-cr-00120-MEF Document 500-39 Filed 08/03/23 Page 3 of 3 PageID: 25597
The charges in the indictment are merely allegations, and the defendants are presumed innocent until proven guilty
beyond a reasonable doubt in a court of law.

The Department of Justice and the U.S. Attorney’s Office for the District of New Jersey also announced today that they
have declined prosecution of Cognizant after considering the factors set forth in the Department of Justice’s Principles
of Prosecution of Business Organizations and the Corporate Enforcement Policy, including Cognizant’s prompt
voluntary self-disclosure, cooperation and remediation, as well as Cognizant’s disgorgement to the Department and the
U.S. Securities and Exchange Commission (SEC) of the cost savings that resulted from the bribery scheme.

In the related case with the SEC, Cognizant entered into a cease and desist order and agreed to pay the SEC a civil
penalty, disgorgement and prejudgment interest totaling approximately $25 million.

The Department appreciates the significant cooperation provided by the SEC in this case.

The case is being investigated by the FBI’s Newark Field Office. Assistant Chief David A. Last of the Criminal Division’s
Fraud Section and Assistant U.S. Attorneys Courtney A. Howard and Nicholas P. Grippo of the District of New Jersey
are prosecuting the case.

The Fraud Section is responsible for investigating and prosecuting all FCPA matters. Additional information about the
Justice Department’s FCPA enforcement efforts can be found at www.justice.gov/criminal/fraud/fcpa.


Attachment(s):
Download Coburn and Schwartz Indictment

Topic(s):
Foreign Corruption

Component(s):
Criminal Division
Criminal - Criminal Fraud Section

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